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United States v. Adams, No. 24 Cr. 556 (DEH)
Exhibit C

March 25, 2025 Government Submission

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From: Wikstrom rek ANY.

To: Rohrbach, Andrew (USANYS); Cohen, Celia (USANYS) 1; Scotten, Hagan (USANYS)
Subject: Re: Damian Article Response

Date: Monday, January 20, 2025 6:17:55 PM

I know that none of us were motivated by Damian’s political aspirations, but I don’t think any
of us know for sure what motivated Damian. Anyway, I thought grain of salt was
appropriately calibrated to what we can say about Adams’s/Spiro’s motivations.

Derek Wikstrom
Assistant United States Attorney

United States Attorney's Office
Southern District of New York

26 Federal Plaza, 37 Floor
New York, New York 10278

From: Rohrbach, Andrew (USANYS) [ix
Sent: Monday, January 20, 2025 6:07 PM

To: Wikstrom, Derek (USANYS) i Cohen, Celia (USANYS) 1
SS <2 222 5S

Subject: RE: Damian Article Response

My thinking on “grain of salt” versus “rejected” is that we want to say he is wrong about his claim
that our prosecution is motivated by Damian’s political interests, and not just that people should be
skeptical. Certainly not wedded to a particular word.

From: Wikstrom, Derek (USANYS)

Sent: Monday, January 20, 2025 6:01 PM

To: Rohrbach, Andrew (USANYS) i Cohen, Celia (USANYS) 1
5c oco0 USS

Subject: Re: Damian Article Response

For whatever it’s worth, | wanted to put in votes in favor of “grain of salt” on stylistic grounds, and of
retaining n.3 and rejecting approval by Main Justice on substantive ones. Happy to discuss all of this

obviously.

Derek Wikstrom

Assistant United States Attorney
United States Attorney’s Office
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From: Rohrbach, Andrew (USANYS) iii

Sent: Monday, January 20, 2025 5:20:02 PM
To: Cohen, Celia (USANYS) 1 EN; Scotten, Hagan (USANYS)

; Wikstrom, Derek (USANYS) jini

Subject: RE: Damian Article Response

Some suggestions in the attached. I’ve tried to accommodate Celia’s suggestions and Hagan’s
concerns. | agree that we should create some space from Damian, but | also think we should avoid
anything that looks like us fighting with Damian (which would be counterproductive).

| also added a little bit of language to respond a little bit more to their legal argument, insofar as
they make one.

From: Cohen, Celia (USANYS) 1

Sent: Monday, January 20, 2025 4:48 PM
To: Scotten, Hagan (USANYS) i; Wikstrom, Derek (USANYS)

- Rohrbach, Andrew (USANYS) [A

Subject: Re: Damian Article Response
For whatever it’s worth, here was my thinking on a couple things.

| was hesitating on the MJ point for the same reason you articulate but it does cut against the
suggestion that DW cooked this up on his own so he could run for mayor.

On the line prosecutor point, | don’t think anyone thinks a case gets charged without the
involvement and recommendation of prosecutors and | think we want to create distance between
those prosecutors and theUS Attorney.

And on the Grand Jury point, | agree that the sentence structure | proposed is bad. But | would like
to get in there the point that one of you made on our call that at the end of the day, it was a grand
jury that chose to return the indictment and not a political appointee.

Celia V. Cohen
Assistant United States Attorney

From: Scotten, Hagan (USANYS)

Sent: Monday, January 20, 2025 2:39:40 PM
To: Cohen, Celia (USANYS) 1 I: Wikstrom, Derek (USANYS)

- Rohrbach, Andrew (USANYS) [iii

Subject: RE: Damian Article Response

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Sorry about that

From: Cohen, Celia (USANYS) i

Sent: Monday, January 20, 2025 2:20 PM
To: Scotten, Hagan (USANYS) [i ; Wikstrom, Derek (USANYS)

RE Fh 22ch, Ancew (USNS

Subject: RE: Damian Article Response

Can you resend with attachment pls?

From: Scotten, Hagan (USANYS) Jini

Sent: Monday, January 20, 2025 1:49 PM
To: Cohen, Celia (USANYS) 1 i; Wikstrom, Derek (USANYS)

EE £0220, Anccew (55S

Subject: RE: Damian Article Response

Here’s a version incorporating the edits | agreed with and responding to those | didn’t. Andrew, do
you want to weigh in? We should be in a position to move forward with this tomorrow.

From: Cohen, Celia (USANYS) 1

Sent: Sunday, January 19, 2025 11:52 PM

To: Wikstrom, Derek (USANYS) Jie ; Scotten, Hagan (USANYS)
REE oh 82ch, Andrew (USNS)

Subject: RE: Damian Article Response

Thanks for doing this. A couple thoughts in the attached.

From: Wikstrom, Derek (USANYS)

Sent: Sunday, January 19, 2025 9:02 PM

To: Scotten, Hagan (USANYS) iii! ; Cohen, Celia (USANYS) 1
RE | 803 2ch, Andrew (USNS)

Subject: RE: Damian Article Response

Thanks for drafting, | like this. Here are some nits and one suggestion for your consideration.

Derek Wikstrom

Assistant United States Attorney
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New York, New York 10278
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From: Scotten, Hagan (USANYS) [inn

Sent: Sunday, January 19, 2025 8:33 PM

To: Cohen, Celia (USANYS) 1  ; Rohrbach, Andrew (USANYS)
isto, Oorek (USNS)

Subject: Damian Article Response

A draft is attached for discussion. Basically, | tried to (1) distance us from Damian enough that Ho
and Trump will know we don’t approve of what he did, but not so much that we magnify the
scandal; (2) make some legal response on the question of relief so we still sound like lawyers, and (3)
go on offense enough for Andrew but not too much for Derek with respect to EA trying to shift the
focus away from the evidence.
